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                                                Exhibit C
                                           SUMMARY BY TIMEKEEPER

    Name of         Title       Year       Department        Hourly       Total     Hourly       Total    Total Fees
    Professional                Admitted                     Billing     Billed     Billing     Billed    Requested1
                                                               Rate      Hours       Rate       Hours
                                                              (2022)     (2022)     (2023)      (2023)
    CATHERINE L.    Partner     1982       Restructuring &   $1,595.00    170.90    $2,130.00   195.60      $689,213.50
    STEEGE                                 Bankruptcy
    VINCENT E.      Partner     1990       Restructuring &   $1,540.00    244.00    $1,735.00   179.90      $687,886.50
    LAZAR                                  Bankruptcy
    SHOBA PILLAY    Partner     2003       Investigations,   $1,455.00    356.60    $1,590.00   265.90      $941,634.00
                                           Compliance &
                                           Defense
    GAIL H. MORSE   Partner     1982       Tax               $1,320.00    123.80    $1,440.00    37.90      $217,992.00
    DAVID M.        Partner     1986       Litigation        $1,275.00      3.30         N/A      N/A         $4,207.50
    GREENWALD
    MELISSA M.      Partner     2003       Restructuring &   $1,265.00    250.60    $1,430.00   202.40      $606,441.00
    ROOT                                   Bankruptcy
    HOWARD S.       Partner     1983       FIFL                   N/A       N/A     $1,390.00     0.50         $695.00
    SUSKIN
    ANDRIANNA D.    Partner     2005       Appellate         $1,300.00     11.10    $1,300.00    27.60       $50,310.00
    KASTANEK
    LANDON S.       Partner     2008       Restructuring &   $1,185.00    541.00    $1,290.00   300.90    $1,029,246.00
    RAIFORD                                Bankruptcy
    KAYVAN B.       Partner     2003       Securities        $1,150.00    196.40    $1,260.00   132.90      $393,314.00
    SADEGHI                                Litigation &
                                           Enforcement
    SARAH F.        Partner     2010       Investigations,   $1,090.00    224.10    $1,240.00   217.90      $514,465.00
    WEISS                                  Compliance &
                                           Defense
    HANNA M.        Partner     2012       Energy            $1,085.00      1.50         N/A      N/A         $1,627.50
    CONGER
    AARON R.        Partner     2011       Investigations,   $1,085.00    465.20    $1,240.00   251.40      $816,478.00
    COOPER                                 Compliance &
                                           Defense
    EMILY M.        Partner     2013       Investigations,   $1,075.00    157.80    $1,240.00    61.00      $245,275.00
    SAVNER                                 Compliance &
                                           Defense
    CARL N.         Special     2010       Restructuring &   $1,095.00    260.00    $1,195.00   108.90      $414,835.50
    WEDOFF          Counsel                Bankruptcy
    LAURA E.        Special     2004       Litigation          $905.00    631.60      $990.00   282.70      $851,471.00
    PELANEK         Counsel
    MICHELLE A.     Associate   2018       Government          $905.00    203.60    $1,105.00    93.00      $287,023.00
    ONIBOKUN                               Contracts
    PHILIP B.       Associate   2018       Investigations,     $905.00    270.50    $1,105.00   171.90      $434,752.00
    SAILER                                 Compliance &
                                           Defense
    SARA M.         Associate   2019       Investigations,     $825.00    185.80    $1,050.00   121.10      $280,440.00
    STAPPERT                               Compliance &
                                           Defense
    ERIC E. PETRY   Associate   2019       Litigation          $825.00    123.80    $1,050.00    55.80      $160,725.00
    SARA M.         Associate   2020       Litigation          $750.00     63.30      $960.00    69.40      $114,099.00
    CROOK
    SOLANA R.       Associate   2020       Corporate           $750.00    145.40      $960.00    51.10      $158,106.00
    GILLIS




1
  As noted above, in consultation with the Fee Examiner, the Examiner and Jenner & Block agreed to $305,475.68 in
aggregate reductions to its requested fees during the Final Fee Period. The chart reflects requested fees prior to these
reductions.
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Name of          Title       Year       Department            Hourly      Total    Hourly      Total    Total Fees
Professional                 Admitted                         Billing    Billed    Billing    Billed    Requested1
                                                               Rate      Hours      Rate      Hours
                                                              (2022)     (2022)    (2023)     (2023)
ARIANA J.        Associate   2020       Investigations,        $750.00     12.20    $960.00     63.60     $70,206.00
KANAVY                                  Compliance &
                                        Defense
KETURAH R.       Associate   2019       Investigations,        $710.00     11.20       N/A      N/A        $7,952.00
JAMES                                   Compliance &
                                        Defense
ADINA            Associate   2021       Litigation             $710.00   220.40     $860.00    76.30     $222,102.00
HEMLEY-
BRONSTEIN
BREANNA K.       Associate   2021       Restructuring &           N/A       N/A     $860.00     7.10       $6,106.00
DROZD                                   Bankruptcy
KATE E. FINTEL   Associate   2021       Litigation                N/A       N/A     $860.00    55.30      $47,558.00
COURTNEY B.      Associate   2021       Litigation             $700.00   161.00     $860.00   104.40     $202,484.00
SHIER
RAYMOND B.       Associate   2021       Litigation             $700.00   261.00     $860.00   157.10     $317,806.00
SIMMONS
CHERRISSE R.     Associate   2021       Litigation             $700.00   172.60     $860.00    50.70     $164,422.00
WOODS
VINCENT WU       Associate   2021       Litigation             $700.00      1.00    $860.00    34.00      $29,940.00
ISHA Z. ABBASI   Associate   2022       Litigation             $700.00     31.60    $745.00    73.20      $76,654.00
NICHOLAS S.      Associate   2022       Litigation             $700.00   252.30     $745.00   224.30     $343,713.50
JOHN
MICHAEL D.       Associate   2022       Litigation             $700.00     27.90    $745.00    40.80      $49,926.00
PEARSON
ETHAN M.         Associate   2022       Litigation             $700.00     42.20    $745.00    67.00      $79,455.00
LEVY
LAURA K.M.       Associate   2022       Litigation             $700.00     26.40    $745.00    62.80      $65,266.00
KOELLER
PATRICIA A.      Associate   2022       Litigation             $700.00     29.70    $745.00    49.30      $57,518.50
PETERS
OLUWATOMISI      Associate   2022       Litigation             $700.00     40.60       N/A      N/A       $28,420.00
N T. JOHNSON
BLAINE R.        Associate   2022       Litigation             $700.00     15.10    $745.00    30.30      $33,143.50
VALENCIA
NICOLE R.        Associate   2022       Litigation             $700.00     31.80    $745.00    45.20      $55,934.00
ALLICOCK
ZACHARY A.       Law Clerk   2022       Litigation             $710.00     22.50    $745.00    36.50      $43,167.50
MARINO
PAMELA A.        Staff       2000       Litigation             $595.00   184.80        N/A      N/A      $109,956.00
MARINO-          Attorney
GIAKOU
CONSTANCE        Discovery   2011       Litigation             $330.00     31.40       N/A      N/A       $10,362.00
J.B. PURTILL     Attorney
DAVID C. GUI     Discovery   2013       Litigation             $330.00   189.60        N/A      N/A       $62,568.00
                 Attorney
CHRISTINE C.     Discovery   1999       Litigation             $330.00     87.00    $330.00    79.20      $54,846.00
CORSO            Attorney
NOELLE M.        Discovery   2009       Litigation             $330.00     98.70    $330.00    95.30      $64,020.00
DUPUIS           Attorney
MICHELLE A.      Discovery   2005       Litigation             $330.00   106.60        N/A      N/A       $35,178.00
MCDONALD         Attorney
MIKKEL R.        Discovery   2007       Litigation             $330.00     37.90      N/A       N/A       $12,507.00
MICHELSON        Attorney
LEAH J.          Discovery   2002       Litigation             $330.00     54.20       N/A      N/A       $17,886.00
STARKMAN         Attorney
STEFANO          Discovery   2013       Litigation             $330.00     62.30    $365.00    33.50      $32,786.50
VIOLA            Attorney
DANIEL O.        Senior      N/A                               $560.00   192.50     $590.00   128.20     $183,438.00
GARCIA           Paralegal




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Name of         Title        Year       Department       Hourly       Total    Hourly      Total     Total Fees
Professional                 Admitted                    Billing     Billed    Billing    Billed     Requested1
                                                          Rate       Hours      Rate      Hours
                                                         (2022)      (2022)    (2023)     (2023)
DEBRA E.        Senior       N/A                               N/A       N/A    $590.00      5.00        $2,950.00
ABELSON         Paralegal
CHERYL J.       Senior       N/A                              N/A       N/A     $590.00      5.70        $3,363.00
KRAS            Paralegal
JESSICA M.      Senior       N/A                              N/A       N/A     $590.00      7.30        $4,307.00
MERKOURIS       Paralegal
CHRISTOPHER     Senior       N/A                              N/A       N/A     $590.00      3.50        $2,065.00
R. WARD         Paralegal
KELSEY          Paralegal    N/A                              N/A       N/A     $505.00      2.70        $1,363.50
HYUNJEE CHOI
SAM A. ROSEN    Paralegal    N/A                              N/A       N/A     $505.00      3.00        $1,515.00
ADAM H.         Paralegal    N/A                              N/A       N/A     $320.00      4.80        $1,536.00
WEIDMAN
BRYAN A.        Senior       N/A                          $455.00       1.30       N/A       N/A          $591.50
POWER           Litigation
                Support
                Specialist
PAUL S.         Senior       N/A                          $405.00      10.50       N/A       N/A         $4,252.50
RAMONAS         Research
                Librarian
JAMES P.        Senior       N/A                          $405.00       2.50    $420.00      1.50        $1,642.50
WALSH           Research
                Librarian
M. KRISTINA     Research     N/A                          $405.00       1.20       N/A       N/A          $486.00
DEGUZMAN        Librarian
STEPHEN S.      Research     N/A                          $405.00       6.20       N/A       N/A         $2,511.00
MELLIN          Librarian
TRICIA J.       Research     N/A                          $405.00       0.60    $420.00      1.30         $789.00
PEAVLER         Librarian
  Sub-Total*                                                                                        $11,412,930.00
Less 50%                                                                                               $15,075.00
Discount on
Non-working
Travel Matter
Total                                                                             11,433.80 hours   $11,397,855.00




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